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                                                                                              FILED
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                             NEWPORT NEWS DIVISION                                       AUG -9 2011

                                                                                   CLERK. US DISTRICT COURT
GARY M GRAY                                                                            NEWPORT NEWS VA

                     Plaintiff,                            Civil Action No:


vs.
                                                                     COMPLAINT

AMERICAN CORADIUS INTERNATIONAL,
LLC


                            Defendants.



                                           COMPLAINT

 Plaintiff, GARY M. GRAY, individually, hereby sues Defendant, AMERICAN CORADIUS
INTERNATIONAL, LLC;


                                  PRELIMINARY STATEMENT

1. This is an action for damages brought for damages for violations of the Fair Debt Collection
Practices Act (FDCPA) 15 U.S.C. §1692 et seq.; for damages for violations of the Fair Credit
Reporting Act (FCRA) 15 U.S.C. §1681 et seq.;

                                  JURISDICTION AND VENUE

2. The jurisdiction of this Court is conferred by 15 U.S.C. §1681p, and 15 U.S.C. § 1692k

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391b.

4. This is an action for damages which do not exceed $10,000.00.

                                             PARTIES


5. Plaintiff, Gary M. Gray, is a natural person and is a resident of the State of Virginia.

6. Upon information and belief Defendant, AMERICAN CORADIUS INTERNATIONAL,
LLC, is a corporation, authorized to do business in Virginia.

7. All conditions precedent to the bringing of this action have been performed, waived or ex
cused.




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                                  FACTUAL ALLEGATIONS

8. On or about November 22,2010, Plaintiff received a notice from Defendants AMERICAN
CORADIUS INTERNATIONAL, LLC, as debt collectors attempting to collect an alleged debt
in which they fraudulently claimed I owed them. On December 5,2010,1 sent them a Notice to
Validate the Debt via certified mail which they received on December 10, 2010 in which they
failed to respond or validate the debt they purportedly claim I owed.

9. On or about June 2,2011, Plaintiff pulled his credit report and discovered that the Defendant
AMERICAN CORADIUS INTERNATIONAL, LLC had initiated a credit inquiry of Plaintiff s
credit report from TransUnion without permissible purpose.

10. On June 8,2011 Plaintiff sent a letter AMERICAN CORADIUS INTERNATIONAL, LLC,
demanding validation of the purported debt and to provide proof they had permissible purpose to
pull my credit report. Defendants again failed to validate the debt.

11. Plaintiff contends that the illegal actions of the Defendants have harmed the Plaintiff, result
ing in a reduction of his credit score, mental anguish, humiliation, a loss of reputation, and ex
penditures for attorney's fees and costs.



                                             COUNT I
  VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT (FDCPA), 15 U.S.C.
    §1692 BY DEFENDANTS AMERICAN CORADIUS INTERNATIONAL, LLC;

12. Paragraphs 1 through 11 are realleged as though fully set forth herein.

13. Plaintiff is a consumer within the meaning of the FDCPA, 15 U.S.C. § 1692a (3).

14. Defendant AMERICAN CORADIUS INTERNATIONAL, LLC is a debt collector within the
meaning of the FDCPA, 15 U.S.C. §1692 a(6).

15. Defendants AMERICAN CORADIUS INTERNATIONAL, LLC violated the FDCPA. De
fendant's violations include, but are not limited to, the following:

       (a) Defendants violated 15 U.S.C. §1692 e(2) by falsely representing the character,
           amount, or legal status of any debt.
       (b) Defendants violated 15 U.S.C. §1692 e(5) by threatening to take action that cannot
           legally be taken.
       (c) Defendants violated 15 U.S.C. §1692 e(10) by the use of any false representation or
           deceptive means to collect or attempt to collect any debt or to obtain information con
           cerning a consumer.
       (d) Defendants violated 15 U.S.C. §1692 f(l) by the collection of any amount (including
           any interest, fee, charge, or expense incidental to the principal obligation) unless such
           amount is expressly authorized by the agreement creating the debt or permitted by
           law.




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 WHEREFORE, Plaintiff demands judgment for damages in the amount of $4,000 against Defen
 dants AMERICAN CORADIUS INTERNATIONAL, LLC for actual or statutory damages, and
 punitive damages, attorney's fees and costs, pursuant to 15 U.S.C. § 1692k.


                                            COUNT II
       VIOLATION OF FAIR CREDIT REPORTING ACT (FCRA), 15 U.S.C. §1681
                     WILLFUL NON-COMPLIANCE BY DEFENDANTS
                     AMERICAN CORADIUS INTERNATIONAL, LLC;

 16. Paragraphs 1 through 15 are realleged as though fully set forth herein.

 17. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. §1681a(c).

18. Defendant AMERICAN CORADIUS INTERNATIONAL, LLC are furnishers of informa
tion within the meaning of the FCRA, 15 U.S.C. §1681s-2.

19. Defendant AMERICAN CORADIUS INTERNATIONAL, LLC willfully violated the
FCRA. Defendants' violations include, but are not limited to, the following:

        (a) Defendant AMERICAN CORADIUS INTERNATIONAL, LLC willfully violated 15
        U.S.C. § 1681 s-2(a)(3) by, if the completeness or accuracy of any information furnished
        by any person to any consumer reporting agency is disputed to such person by a con
        sumer, failing to furnish the information to any consumer reporting agency without no
        tice that such information is disputed by the consumer.

        (b) Defendant AMERICAN CORADIUS INTERNATIONAL, LLC willfully violated 15
        U.S.C. §1681s-2(b)(C) by, after receiving notice pursuant to § 168 li of a dispute with
        regard to the completeness or accuracy of any information provided by a person to a
        consumer reporting agency, failing to direct such consumer reporting agencies to delete
        inaccurate information about the plaintiff pertaining to the account.

WHEREFORE, Plaintiff demands judgment for damages in the amount of $2,000 against De
fendant AMERICAN CORADIUS INTERNATIONAL, LLC for actual or statutory damages,
and punitive damages, attorney's fees and costs, pursuant to 15 U.S.C. §1681n.


                                           COUNT III
      VIOLATION OF FAIR CREDIT REPORTING ACT (FCRA), 15 U.S.C. §1681
                  NEGLIGENT NON-COMPLIANCE BY DEFENDANTS
                   AMERICAN CORADIUS INTERNATIONAL, LLC;

20. Paragraphs 1 through 19 are realleged as though fully set forth herein.

21. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. §1681a(c).




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 22. Defendant AMERICAN CORADIUS INTERNATIONAL, LLC are furnishers of informa
 tion within the meaning of the FCRA, 15 U.S.C. §1681s-2.

 30. Defendant AMERICAN CORADIUS INTERNATIONAL, LLC negligently violated the
 FCRA. Defendants' violations include, but are not limited to, the following:

        (a) Defendants AMERICAN CORADIUS INTERNATIONAL, LLC negligently violated
        15 U.S.C. §1681s-2(a)(3) by, if the completeness or accuracy of any information fur
        nished by any person to any consumer reporting agency is disputed to such person by a
        consumer, failing to furnish the information to any consumer reporting agency without
        notice that such information is disputed by the consumer.

        (b) Defendants AMERICAN CORADIUS INTERNATIONAL, LLC negligently violated
        15 U.S.C. §1681s-2(b)(B) by, after receiving notice pursuant to §1681i of a dispute with
        regard to the completeness or accuracy of any information provided by a person to a con
        sumer reporting agency, failing to review all relevant information provided by the con
        sumer reporting agencies.


        (c) Defendants AMERICAN CORADIUS INTERNATIONAL, LLC negligently violated
        15 U.S.C. §1681s-2(b)(C) by, after receiving notice pursuant to §1681 i of a dispute with
        regard to the completeness or accuracy of any information provided by a person to a con
        sumer reporting agency, failing to direct such consumer reporting agencies to delete inac
        curate information about the plaintiff pertaining to the account.

WHEREFORE, Plaintiff demands judgment for damages in the amount of $3,000 against Defen
dants AMERICAN CORADIUS INTERNATIONAL, LLC for actual damages, and attorney's
fees and costs, pursuant to 15 U.S.C. §1681o.




                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.

Respectfttfly> submit




Authorized Rep^entative:
Gary M. Gray
c/o 6 Miles Cary Mews
Hampton, Virginia [23669]
757-251-0174




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